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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

CHAPTER 4 CORP.,
                                                    Case No. 20-cv-02444

               Plaintiff,                           Judge John Robert Blakey

v.                                                  Magistrate Judge Jeffrey I. Cummings

SUPREMETSHIRT.US, et al.,

               Defendants


                              SATISFACTION OF JUDGMENT

       WHEREAS, a judgment was entered in the above action on July 27, 2020 [68], in favor of

Plaintiff Chapter 4 Corp. (“Plaintiff”) and against the Defendants Identified in Schedule A in the

amount of five hundred thousand dollars ($500,000) per Defaulting Defendant, and Supreme

acknowledges payment of an agreed upon damages amount, costs, and interest and desires to

release this judgment and hereby fully and completely satisfy the same as to the following

Defendant:

                Defendant Name                                        Line No.
                  hangshopgo                                             84

       THEREFORE, full and complete satisfaction of said judgment as to the above-referenced

Defendant are hereby acknowledged, and the Clerk of the Court is hereby authorized and directed

to make an entry of the full and complete satisfaction on the docket of said judgment.
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Dated this 21st day of August 2020.   Respectfully submitted,

                                      /s/ Allyson M. Martin
                                      Amy C. Ziegler
                                      Justin R. Gaudio
                                      Allyson M. Martin
                                      Greer, Burns & Crain, Ltd.
                                      300 South Wacker Drive, Suite 2500
                                      Chicago, Illinois 60606
                                      312.360.0080
                                      312.360.9315 (facsimile)
                                      aziegler@gbc.law
                                      jgaudio@gbc.law
                                      amartin@gbc.law

                                      Counsel for Plaintiff Chapter 4 Corp.




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